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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )            Case No. 8:06CR133
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
JOHN DAVIDSON,                                )
                                              )
                      Defendant.              )


       Defendant John Davidson appeared before the court on July 5, 2007 on a Petition for
Summons for Offender Under Supervision [69]. The defendant was represented by Assistant
Federal Public Defender Jennifer Gilg and the United States was represented by Assistant U.S.
Attorney Douglas Semisch. The defendant admitted allegations 1, 3 and 6. The defendant’s oral
motion to continue final disposition to allow the defendant to participate in inpatient treatment is
granted. The government did not object.
       IT IS ORDERED:

       1. A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 1:00 p.m., on October
19, 2007. Defendant must be present in person.
       2. On Friday, July 6, 2007 at 8:30 a.m. , the defendant is to be released to NOVA T.C., 3473
Larimore Avenue, Omaha, Nebraska, for inpatient treatment, and is ordered to remain and
participate in its program and obey all rules of the program.
       3. That the defendant will also abide by all the terms and conditions of his supervised
release previously imposed.
       Dated this 5th day of July, 2007.


                                              BY THE COURT:



                                               s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
